                             Case 1:20-cr-00046-UNA Document 4 Filed 01/28/20 Page 1 of 1
U.S. Department of Justice
United States Aftorney


                                                                                                          FILED IN CHAMBERS
                                                                                                                  U.3.oc -At!
                                        IN THE UNITED STATES DISTRICT COURT                                                     80 a
                                            FOR THE NORTHERN DISTRICT OF GEORGIA                                 JAN 282020
                                                                   Division: Atlanta                     By.   James N. Hat$1 Qierk
                                                                   (USAO: 2017R00688)                                    J_~)
                                                                                                                             Clerk
                                      DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION


COUNTY NAME:                 Fulton                                       DISTRICP COURT NO.
                                                                                                   1:20 •CP~O46
                                                                                                   UNDER SEAL
                                                                          MAGISTRATE CASE NO.

X Indictment                                        Information                         Magistrate’s Complaint
DATE: January 28, 2020                              DATE:                               DATE:

                              UNrrED STATES OF AMERICA                    SUPERSEDING INDICTMENT
                                           vs.                            Prior Case Number:
                                       WU ZHIYONG                         Date Piled:

GREATER OPFENSE CHARGED: X Pelony Misdemeanor

                                             Defendant Information:
Is the defendant in custody? Yes X No
Will the defendant be arrested pending outcome of this proceeding? X Yes                  No
Is the defendant a fugitive? Yes X No
Has the defendant been released on bond? Yes X No

Will the defendant require an interpreter?                Yes     X No




Disfrict Judge:


Attorney: Nathan P. Kitchens
Defense Attorney:
